Case:23-01428-MCF11 Doc#:28-11 Filed:06/22/23 Entered:06/22/23 21:45:39   Desc:
            Exhibit Sworn Statement Alexis Ramirez Rosado Page 1 of 4
Case:23-01428-MCF11 Doc#:28-11 Filed:06/22/23 Entered:06/22/23 21:45:39   Desc:
            Exhibit Sworn Statement Alexis Ramirez Rosado Page 2 of 4
Case:23-01428-MCF11 Doc#:28-11 Filed:06/22/23 Entered:06/22/23 21:45:39   Desc:
            Exhibit Sworn Statement Alexis Ramirez Rosado Page 3 of 4
Case:23-01428-MCF11 Doc#:28-11 Filed:06/22/23 Entered:06/22/23 21:45:39   Desc:
            Exhibit Sworn Statement Alexis Ramirez Rosado Page 4 of 4
